                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI

K.J., as NEXT
FRIEND for K.D., a minor

                       Plaintiff,

       v.                                            Case No. 5:18-cv-6113

ST. JOSEPH SCHOOL
DISTRICT, et al.

                Defendants.

                          RESPONSE TO ORDER TO SHOW CAUSE

       COMES NOW Rebecca M. Randles, attorney for Plaintiffs K.D. and K.J. and hereby

responds to the Text Entry requesting Plaintiff to file Answers to Interrogatories or Show Cause

why sanctions should not be ordered. As grounds for this Response, Plaintiff’s counsel responds

as follows:


                                    TIMELINESS OF THIS RESPONSE

       1.       On or about January 10, 2019, Plaintiff was ordered to file her Answers to

Interrogatories propounded by Defendant Siela by January 11, 2019. Counsel was ordered to

show cause by January 14 why sanctions should not issue if the Interrogatories were not

answered within that time.

       2.       Unfortunately, that Order was not received when it was sent. On Wednesday,

January 9, following deposition, Plaintiff’s counsel and her staff compiled the interrogatories

propounded by the District. Plaintiff’s counsel and her staff worked into the early morning hours

of January 10, 2019 because the law office server kept going down. By late evening, January 9,

Plaintiff’s counsel could no longer work at her station; they completed the discovery at another

station before the server crashed it as well. Nonetheless, at approximately 1:00 a.m., the



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propounded discovery was served on counsel for the District. Defendant Siela’s discovery could

not be completed at that time and an email was sent asking for ten days within which to provide

those answers. At that time, the Court had not yet issued its order regarding discovery.

       3.       By regular working hours on January 10, the computer system was completely

down and no documents could be accessed on the server – where all documents required for

complete answers to the Interrogatories and Requests for Production resided. Further, Plaintiff’s

counsel’s station – where the emails arrive – was completely out of commission on that day.

Plaintiff’s counsel was in deposition on that day; the new IT person for the office, began working

on the issues that were preventing access to the server.

       4.       Plaintiff’s counsel had a Trustee’s meeting at Southwest Baptist University on

January 11, 2019, but kept in contact with staff regarding the ongoing IT issues and whether the

server could be accessed or emails received. The IT issues were not resolved by close of

business on that day. A huge snow storm occurred over the weekend, but the IT professional

still worked on the server / cloud issues over the weekend.

       5.       Plaintiff’s counsel also had a Response to Summary Judgment due. It was due on

Monday, January 14, 2019. Because of the server issues, Plaintiff’s counsel prepared it at home.

Then, because of power outages caused by the storm, it could not be transferred to the computer

at the office electronically. Instead, counsel printed off the written materials and scanned it. The

scanner kept going off line because the server was sputtering – it would be up for a little while

then go down again. It had to be turned off completely during the middle of the day. Because of

the server issues, it took nearly five hours to scan and efile the summary judgment response. It

was finally filed at 4:00 a.m. on Tuesday, January 15. The efiling was accomplished using

Plaintiff’s counsel’s log in from a remote computer to bypass the server issues.




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       6.       When Plaintiff’s counsel arrived at the office on Tuesday, January 15, her email

was working. At that time, she discovered the Order requiring her to prepare the Interrrogatory

answers within twenty-four hours. While it was not possible to comply with the order of January

10, 2019 because the Order could not be viewed until January 15, 2019, Plaintiff’s counsel did

provide the Ordered responses within 24 hours of the time that she had the ability to do so.

Accordingly, Plaintiff’s counsel requests the Honorable Court to deem as timely the serving of

discovery responses on January 16, 2019.

                                Reasons for Delay in Discovery Responses

       7.       Five sets of discovery were served on Plaintiff on November 5, 2019. At the time

that they were served, Plaintiff’s counsel was involved in personal issues that necessitated delay

in responding. Plaintiff’s mother passed unexpectedly in late October; her funeral was

November 3, 2019. The next day, November 4, 2019, the mother of Plaintiff’s Counsel’s

significant other was moved into hospice. She died November 5, 209.

       8.       Because of the deaths of these loved ones, Plaintiff’s counsel was required to

spend significant time away from the office. Deadlines for these five sets of discovery, the

summary judgment motion on a companion case and discovery in the H.L. Doe case were

impending and had to be moved to accommodate the personal issues, the holidays and

management of the calendar.

       9.       Nonetheless, these personal issues did not in any way impact the quality of work

produced or the schedule of these cases. In October and November, Plaintiff produced every

document in her possession, custody or control regarding the matter. Plaintiff produced over a

thousand pages of documents with her 26(a) disclosure and made very complete disclosures.




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        10.     The disclosures made by Plaintiff are more complete and more thorough than

those of defense counsel. The interrogatories of both parties have no new information that was

not already produced to them in document form, except the narrative of Plaintiff explaining those

documents.

        11.     In this matter, defendants have suffered no prejudice by the late filing of the

discovery responses. Accordingly, sanctions at this time would be inappropriate.

                                              Previous Failures

        12.     Plaintiff’s counsel is well aware that she has gotten a reputation as one who seeks

extensions of time too often. It is not from a lack of care, but from a persistent need for

perfection – which is elusive and usually impossible. The quality of the work product of

Plaintiff’s counsel is not an issue; it is the timeliness. Plaintiff’s counsel is aware of the

timeliness issue and will correct it.

        13.     In 2018, the timeliness issue was exacerbated by the loss (due to retirement) of

her partner and other issues such that the office was overwhelmed by the loss of staffing on the

cases. That, too, has been ameliorated by a new calendaring system, referral of cases out of the

office and resolution of her partner’s remaining cases.

        14.     Plaintiff’s counsel has acted in no way contumacious. 2018 was a very bad year

with the loss of Counsel’s mother, her significant other’s brain aneurysm and loss of his mother,

her partner’s retirement and downsizing of the office staff but not the work load. Those issues

have now all resolved.




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                                     Respectfully submitted,

                                     /s/ Rebecca M. Randles
                                     Rebecca M. Randles, MO #40149
                                     Randles Mata, LLC
                                     406 W. 34th Street, Suite 623
                                     Kansas City, Missouri 64111
                                     rebecca@randlesmatalaw.com
                                     ATTORNEY FOR PLAINTIFFS



                                       CERTIFICATE OF SERVICE

       I certify that the foregoing was served upon the below persons via electronic mail on

January 17, 2019:


EDCOUNSEL, LLC
Duane A. Martin
dmartin@edcounsel.law
J. Drew Marriott
dmarriott@edcounsel.law
Ryan S. VanFleet
rvanfleet@edcounsel.law
201 North Forest Ave., Ste. 200
Independence, Missouri 64050
(816) 252-9000; (816) 252-9009 fax
ATTORNEYS FOR DEFENDANTS

CORONADO KATZ LLC
Steven F. Coronado
Christopher L. Heigele
Aly Brownlee
14 West Third Street, Suite 200
Kansas City, Missouri 64105
(816) 410-6600; (816) 337-3892 fax
steve@coronadokatz.com
chris@coronadokatz.com
 aly@coronadokatz.com
ATTORNEYS FOR DEFENDANTS



                                                          /s/ Rebecca M. Randles
                                                          Attorney for Plaintiff


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